

Matter of Pina v City of New York (2024 NY Slip Op 05776)





Matter of Pina v City of New York


2024 NY Slip Op 05776


Decided on November 19, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 19, 2024

Before: Manzanet-Daniels, J.P., Pitt-Burke, Rosado, O'Neill Levy, Michael, JJ. 


Index No. 100319/22 Appeal No. 3012 &amp; M-4132 M-4435-M-4488 Case No. 2024-04494 

[*1]In the Matter of Frederick D. Pina, Petitioner,
vThe City of New York, et al., Respondents.


Frederick D. Pina, petitioner pro se.
Black Marjieh &amp; Sanford LLP, Elmsford (Jacqueline M. Vernon of counsel), for respondents.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied
and the petition dismissed, without costs or disbursements.Motion Nos. 4132, 4435 &amp; 4488 - Pina v The City of New York 
Motions for relief including, but not limited to disqualification of counsel, punitive damages, and poor person relief, denied.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 19, 2024








